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                        7                        IN THE UNITED STATES BANKRUPTCY COURT
                        8                                    FOR THE DISTRICT OF ARIZONA
                        9   In re:                                          Case No. 2:21-bk-05347-BKM
                   10       GENTREE, LLC,                                   Chapter 11
                   11                                     Debtor.
                   12

                   13                         MOTION OF THE DEBTORS FOR AN ORDER
                                     (I) APPROVING THE REAL ESTATE PURCHASE AGREEMENT;
                   14                     (II) AUTHORIZING THE SALE OF THE REAL PROPERTY AND
                   15         PERSONAL PROPERTY SUBJECT THERETO FREE AND CLEAR OF ALL
                                                   LIENS, CLAIMS, AND INTERESTS;
                   16            (III) AUTHORIZING THE SALE OF THE LIQUOR LICENSE BY A
                             SUBSIDIARY FREE AND CLEAR OF ALL LIENS, CLAIMS, AND INTEREST;
                   17
                                        (IV) APPROVE SALE TO THE BACK-UP PURCHASER
                   18                                          AND
                                               (V) GRANTING OTHER RELATED RELIEF
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                   20
                                     Gentree, LLC (“Gentree” or “Debtor”) the debtor and debtor in possession in the

                   21       above-captioned bankruptcy case (the “Bankruptcy Case”), respectfully requests the
                   22       Court enter an order in substantially the form as attached hereto as Exhibit A (the “Sale
                   23
                            Order”): (a) approving the Real Estate Purchase Agreement and the Bill of Sale between
                   24
                            the Debtor and Walton Global Holdings, LLC (or its assignee) (“Walton”) attached hereto
                   25

                   26       as Exhibits B and C (collectively, the “Purchase Agreement”); (b) authorizing the sale of
                   27       the real property (“Real Estate Property”) and personal property subject thereto,
                   28
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                        1   including certain rights in a condemnation proceeding (“Personal Property” and together
                        2   with the Real Estate Property, the “Resort Property”)) free and clear of all liens, claims,
                        3
                            and interests to Walton; (c) authorizing the sale of the liquor license (the “Liquor
                        4
                            License”) owned by the Debtor’s wholly-owned subsidiary free and clear of all liens,
                        5

                        6   claims, and interests to Walton if any agreement is reached; (d) approving a sale to ALFA
                        7   Cap LLC or its assignee as a back-up purchaser of the Real Estate Property (the “Back-up
                        8
                            Buyer”) pursuant to the terms of the contract attached hereto as Exhibit D1, if Walton does
                        9
                            not exercise the Option (defined below), subject to higher and better offers; and (e) granting
                   10

                   11       other related relief. This motion (“Sale Motion”) is brought pursuant to section 363 of
                   12       title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”).
                   13
                                     This Sale Motion is supported by the following memorandum of points and
                   14
                            authorities, the attached exhibits, the Declaration of Taylor Robinson (the “Robinson
                   15

                   16       Declaration”) filed contemporaneously herewith, the Court’s previous Order Granting
                   17       Debtor’s Motion to Approve Use of Property Outside of the Ordinary Course of Business
                   18
                            (the “Option Order”) [Docket No. 182], and the relevant record in this case.
                   19
                                                MEMORANDUM OF POINTS AND AUTHORITIES
                   20

                   21           I.        JURISDICTION, VENUE, AND STATUTORY AUTHORITY
                   22                1.     The Court has jurisdiction over the Sale Motion and the transactions
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                            contemplated herein pursuant to 28 U.S.C. § 1334. Venue in this district is proper pursuant
                   24
                            to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b).
                   25

                   26

                   27       1
                             If Walton does not exercise the Option and the Back-up Buyer is approved, the Order and the
                   28       Purchase Agreement will be revised for the Back-up Buyer.
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                        1            2.     This Sale Motion and the relief requested herein is supported by Sections
                        2   363(b), 363(f), 363(m), and 363(n) of the Bankruptcy Code, Bankruptcy Rules 2002, 6004,
                        3
                            and 9014 and Local Rule 6004-1.
                        4

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                               II.        BACKGROUND AND FACTS

                        6            3.     On July 12, 2021 (“Petition Date”), the Debtor filed a voluntary petition for

                        7
                            relief under Chapter 11 of the Bankruptcy Code. No trustee or examiner has been appointed

                        8
                            in the Case, and no official committee of unsecured creditors has been established. The

                        9
                            Debtor is authorized to operate its business as debtor-in-possession pursuant to §§ 1107

                   10
                            and 1108 of the Bankruptcy Code.

                   11                The Real Estate Property and Creditors of Gentree

                   12
                                     4.     The Debtor owns and operates the Smoketree Resort located at 7101 E.

                   13
                            Lincoln Dr., Scottsdale, Arizona (i.e., the Real Estate Property), as well as associated

                   14
                            personal property located on premises, and certain rights in a Condemnation Proceeding

                   15
                            defined below (i.e., the Personal Property). The Real Estate Property and the Personal

                   16
                            Property are referred to as the Resort Property (Robinson Declaration).

                   17
                                     5.     The Debtor is currently one of the defendants in a condemnation proceeding

                   18
                            involving a portion of the Real Estate Property, Case No. CV2019-015736, Superior Court

                   19       of Arizona, Maricopa County (the “Condemnation Proceeding”)(Robinson Declaration).

                   20
                                     6.     There are only a handful of creditors in this Bankruptcy Case (Robinson

                   21
                            Declaration).

                   22                7.     Smoke Tree Resort, LLC (“Smoke Tree”) is the senior secured lender with

                   23
                            a senior lien against the Resort Property. As of the Petition Date, Smoke Tree was owed

                   24
                            $10,682,966.95 plus accrued and accruing interest, costs and attorneys' fees as provided in

                   25       its loan and security documents through the closing date. (the “Secured Smoke Tree

                   26       Claim”) (Robinson Declaration).

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                        1          8.       There are tax liens in favor of Maricopa County for 2020 and 2021 real
                        2   property taxes, which are secured by the Real Estate Property in the amount of
                        3   approximately $143,775.01 (the “Secured Tax Claims”) (Robinson Declaration)
                        4          9.       There are approximately three (3) non-insider creditors asserting general
                        5   unsecured claims in this Bankruptcy Case: Beus Gilbert McGroder PLLC; Coe & Van Loo
                        6   Consultants, Inc.; and Peterson Architecture, LLC. The aggregate amount of their general
                        7   unsecured claims, some of which may be subject to an objection, is in the range of
                        8   $118.337 to $386,827.20(collectively, the “General Unsecured Claims”) (Robinson
                        9   Declaration).
                   10              10.      In addition, the Debtor has an obligation to Thunderbird Orion, Ray
                   11       Holdings, LLC arising out of Reimbursement Rights pursuant to the Declaration of
                   12       Reciprocal Easements, Covenants, Conditions and Restrictions dated April 1, 2020 and
                   13       recorded at Document No. 2020-0283887, Official Records of Maricopa County Arizona
                   14       (“Reimbursement Rights”) in the amount of $42,905.25
                   15              11.      7101 Holdings, LLC (“7101 Holdings”) asserts an approximately
                   16       $3,110,053.12 general unsecured claim against the Debtor, which constitutes an insider
                   17       claim (the “7101 Holdings Claim”) (Robinson Declaration).
                   18              12.      The Debtor has incurred certain administrative claims in connection with its
                   19       administration of the Bankruptcy Case. As of the date of this Sale Motion, those claims
                   20       total approximately $135,406.73 (the “Administrative Claims”) (Robinson Declaration).
                   21              13.      As further described below, the proceeds from the Purchase Agreement will
                   22       pay in full the Secured Smoke Tree Claim, the payment to Thunderbird Orion, and the
                   23       Secured Tax Claims. The proceeds of the Purchase Agreement will be paid from escrow
                   24       directly to Smoke Tree, Thunderbird Orion, and Maricopa County in full satisfaction of
                   25       their respective secured claims (Robinson Declaration) without further order of the Court.
                   26              14.      Following the transaction contemplated by this Sale Motion, the remaining
                   27       proceeds from the sale of assets shall be deposited with the Debtor in a segregated Debtor-
                   28       in-Possession account, subject to further order of this Court, to satisfy in full the Allowed
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                        1   General Unsecured Claims. The only claim that will not be satisfied in full will be the 7101
                        2   Holdings Claim (Robinson Declaration).
                        3          The Walton’s Exclusive Option To Purchase The Resort Property
                        4          15.    Gentree entered into an Option Agreement for the Purchase of Real Property
                        5   (“Original Option Agreement”) with Walton, which granted Walton an exclusive option
                        6   (the “Option”) to purchase the Resort Property (Robinson Declaration).
                        7          16.    The Debtor filed a Motion to Approve Use of Property Outside of the
                        8   Ordinary Course and Use of Funds (“Motion to Approve”) on February 4, 2022 seeking
                        9   this Court’s approval of the Original Option Agreement (Docket No. 157). Smoke Tree
                   10       filed an Objection to the Motion to Approve Use of Property Outside of the Ordinary
                   11       Course and Use of Funds on March 7, 2022 (Docket No. 177), and counsel to the Office
                   12       of the United States Trustee informally expressed concerns with the Motion to Approve
                   13       (collectively, the “Objections”) (Robinson Declaration).
                   14              17.    The Debtor, Walton, Smoke Tree, and counsel to the US Trustee resolved
                   15       the Objections, and the Debtor and Smoke tree entered into the Stipulation Resolving
                   16       Smoke Tree Resort, LLC’s Objection to Motion to Approve Use of Property Outside of the
                   17       Ordinary Course and Use of Funds (“Stipulation”) (Docket No. 178). The Stipulation
                   18       provided, among other provisions, that Smoke Tree will be paid in full its Smoke Tree
                   19       Secured Claim at the closing of a sale of the Resort Property directly from the title company
                   20       out of escrow, and that any motion approving the sale of the Resort Property to Walton in
                   21       accordance with the Original Option Agreement shall also seek higher and better offers in
                   22       the event that Walton does not exercise its Option (Robinson Declaration).
                   23              18.    The Court held a duly-noticed hearing on March 10, 2022 regarding the
                   24       Motion to Approve and the Objections. At that hearing, the Debtor, Walton, Smoke Tree,
                   25       and counsel to the US Trustee, represented to the Court that the parties had resolved the
                   26       Objections through revisions to the Original Option Agreement and through the Stipulation
                   27       (Robinson Declaration).
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                        1          19.    Accordingly, on March 11, 2022, the Court entered the Option Order
                        2   approving the Original Option Agreement as revised (hereafter referred to as the “Option
                        3   Agreement”). A copy of the Option Order which includes the Option Agreement is
                        4   attached hereto as Exhibit E, and incorporated into this Sale Motion.
                        5          20.    Section 3(a) of the Option Agreement provides that the purchase price of the
                        6   Resort Property shall not exceed $14,000,000 (Exhibit E).
                        7          21.    On April 29, 2022, Walton timely served notice on the Debtor that Walton
                        8   exercised its right to the one-time 30-day extension to exercise the Option, and timely paid
                        9   for such extension in the amount of $100,000 (Robinson Declaration).
                   10              22.    Walton has timely made all payments under the Option Agreement to
                   11       preserve its right to exercise the Option as extended (Robinson Declaration).
                   12              23.    Accordingly, the date by which Walton must exercise its Option to purchase
                   13       the Real Estate Property is on or before May 31, 2022 under Section 4(b) of the Option
                   14       Agreement. A final sale of the Resort Property must occur on or before June 30, 2022 under
                   15       Section 5 of the Option Agreement (Robinson Declaration; Exhibit E).
                   16              24.    Walton has been performing its due diligence as contemplated under the
                   17       Option Agreement (Robinson Declaration).
                   18              25.    Section 5 of the Option Agreement provides that the Debtor and the
                   19       Purchaser would execute a purchase agreement within five (5) days of the Purchaser’s
                   20       exercise of the Option (Robinson Declaration; Exhibit E).
                   21              26.    Soon after the Court’s entry of the Option Order to ensure that all obligations
                   22       under the Option Agreement would be timely met, and to ensure adequate time for entry
                   23       of the attached Sale Order approving this Sale Motion that is not subject to any stay (one
                   24       of the conditions to closing as described below), the Debtor and Walton began negotiating
                   25       the terms of the Purchase Agreement attached hereto (Robinson Declaration).
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                        1           27.     The Debtor and Walton negotiated the final terms of the Purchase Agreement
                        2   shortly before the filing of this Sale Motion (Robinson Declaration).2
                        3           28.     The Debtor expects that Walton will exercise the Option and perform under
                        4   the terms of the attached Purchase Agreement. Accordingly, to ensure that all conditions
                        5   precedent to closing the sale under the Option Agreement and Purchase Agreement would
                        6   be timely met without the filing of emergency motion(s), the Debtor, in consultation with
                        7   Walton and Smoke Tree, determined to file this Sale Motion prior to Walton’s official
                        8   exercise of the Option (Robinson Declaration).
                        9            The Purchase Agreement with Walton
                   10               29.     A copy of the Purchase Agreement with Walton is attached hereto as Exhibit
                   11       B, and incorporated herein. The salient terms of the Purchase Agreement for the purchase
                   12       of the Resort Property include the following:3
                   13                       a. Purchase Price: Fourteen million dollars ($14,000,000).4 Purchase
                   14       Agreement, Section 3.1.
                   15                       b. Resort Property: The property to be purchased under the Purchase
                   16       Agreement comprises the Real Estate Property, associated personal property as described
                   17       in the Purchase Agreement, and the proceeds of the Condemnation Proceeding (all referred
                   18       to as the Resort Property). Purchase Agreement, Section 2.
                   19                       c. Effective Date: The date Walton exercises the Option under the Option
                   20       Agreement. Purchase Agreement, Section 1.
                   21                       d. The Option Earnest Money: Prior to the Effective Date Walton has
                   22       deposited Earnest Money (as such term is defined in the Option Agreement) in the
                   23

                   24       2
                             The Bill of Sale for the personal property portion of the Real Estate Property will be in a simple form. The
                   25       Debtor will supplement this Sale Motion with such Bill of Sale as Exhibit C if not already attached.
                            3
                              All descriptions in this Sale Motion of the Purchase Agreement and the Option Agreement are for
                   26       summary purposes only. The pertinent documents control to the extent there is any conflict between their
                            descriptions in this Sale Motion and the documents themselves.
                   27       4
                             Due to the amount of the Smoke Tree Secured Claim, and the terms of the purchase price under the Option
                   28       Agreement, the Purchase Price under the Purchase Agreement met the $14,000,000 cap.
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                        1   aggregate amount of four-hundred thousand and No/100 Dollars ($400,000.00) (the
                        2   “Option Earnest Money”) with the title company. Purchase Agreement, Section 3.2.
                        3                 e. The Deposit: Within three (3) business days after the Effective Date,
                        4   Walton shall deliver to the title company a deposit in the amount of Seven Hundred
                        5   Thousand and No/100 Dollars ($700,000.00) (the “Deposit”) in immediately available
                        6   funds. The Deposit and Option Earnest Money in the aggregate amount of $1,100,000 shall
                        7   be applied toward the Purchase Price at Closing or applied as provided for in the Option
                        8   Agreement if Walton fails to close. Purchase Agreement, Section 3.3.
                        9                 f. The Closing: The Closing shall take place no later than thirty (30) days
                   10       after the Effective Date. Purchase Agreement, Section 10.1.
                   11                     g. Payment of Purchase Price: The Purchase Price, less the Option Earnest
                   12       Money and the Deposit shall be payable in full in immediately available funds at the
                   13       Closing. Purchase Agreement, Section 3.1.
                   14                     h. Representations and Warranties: The Purchase Agreement contains
                   15       standard representations and warranties of Debtor Walton, which are set forth in Section 6
                   16       of the Purchase Agreement.
                   17                     i. Brokers: The Debtor has not been represented by any brokers. Walton has
                   18       been represented by a broker, and such broker will be paid by Walton under a separate
                   19       agreement. Purchase Agreement, Section 7.
                   20                     j. Bankruptcy Matters: The Debtor agrees to diligently pursue the Court’s
                   21       approval of the Purchase Agreement and entry of the Sale Order attached hereto. The Sale
                   22       Order shall be in form acceptable Walton in its sole and absolute discretion. Walton agrees
                   23       that it will promptly take such actions as are reasonably necessary in its reasonable
                   24       discretion to assist in obtaining the Court’s approval of the Purchase Agreement and final
                   25       entry of the Sale Order. Purchase Agreement, Section 9.5.
                   26                     k. Deliverables at Closing: The Debtor’s deliverables at Closing are listed
                   27       in Section 10.2. Walton’s deliverables at Closing are listed in Section 10.3.
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                        1                 l. Conditions Precedent to Closing: The Debtor’s and Walton’s Closing
                        2   conditions are set forth in Section 14 of the Purchase Agreement. Among such conditions
                        3   includes that the Court shall have approved the Purchase Agreement under the terms of the
                        4   attached Sale Order, and that such Sale Order shall be final and not subject to any stay.
                        5                 m. Sale Order: The Court’s approval of the Purchase Agreement shall be
                        6   reflected in the attached Sale Order, and shall include the Court’s finding that Walton is
                        7   entitled to the protections of § 363(m) of the Bankruptcy Code and that the sale to Walton
                        8   is free and clear of all liens, claims, interests, and encumbrances in accordance with § 363
                        9   of the Bankruptcy Code.
                   10              30.    If Walton exercises its exclusive Option under the Option Agreement, then
                   11       the parties will proceed to close the transactions contemplated under the Purchase
                   12       Agreement to Walton. In this scenario, the Resort Property subject of the Purchase
                   13       Agreement (and the Liquor License, described below, if an agreement is reached) will not
                   14       be subject to higher or better offers, including, without limitation the Back-up Contract
                   15       defined and described below (Robinson Declaration).
                   16              The Liquor License
                   17              31.    The Debtor is the sole manager and sole member of Gentree F&B, LLC
                   18       (“F&B”). F&B was formed on April 17, 2019 to hold the series 6 liquor license for food
                   19       and beverage operation associated with the Real Estate Property (the “Liquor License”).
                   20       F&B has no operations and no creditors (Robinson Declaration).
                   21              32.    As provided in the Purchase Agreement with Walton, the Debtor and Walton
                   22       agreed that the Liquor License would be subject of a separate agreement between the
                   23       Debtor and Walton. Purchase Agreement, Section 2.
                   24              33.    The Debtor, acting on behalf of F&B, and Walton are negotiating the separate
                   25       purchase agreement to transfer the Liquor License to Walton. If Walton exercises the
                   26       Option, then the Liquor License will be transferred to Walton free and clear of all liens,
                   27       claims, and interests pursuant to the terms of that separate agreement. While no agreement
                   28       has yet been reached regarding the purchase price for the Liquor License, the Debtor and
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                        1   Walton anticipate an agreed-to price before the hearing on this Sale Motion (Robinson
                        2   Declaration).
                        3           34.     This Sale Motion, therefore, likewise seeks approval of the exclusive sale of
                        4   the Liquor License to Walton free and clear of all liens, claims, and interests if an
                        5   agreement is reached. The Debtor will supplement this Sale Motion with the terms of the
                        6   Liquor License purchase and agreement(s) related thereto (Robinson Declaration).5
                        7           The Back-Up Buyer
                        8           35.     As described above, Walton has the exclusive Option to purchase the Resort
                        9   Property and the Liquor License if and when Walton exercises the Option.
                   10       Notwithstanding, in the event that does not occur, this Sale Motion seeks to approve the
                   11       sale of the Real Estate Property and the Liquor License to a Back-Up Buyer, if and only
                   12       if, Walton does not exercise its Option (Robinson Declaration).
                   13               36.     The Debtor negotiated at arms-length and negotiated a contract with the
                   14       Back-up Buyer for the purchase of the Resort Property and is expected to negotiate a
                   15       contract to sell the Liquor License (the “Back-up Contract”). A copy of the Back-up
                   16       Contract is attached hereto as Exhibit D, and incorporated herein. The Back-up Contract
                   17       provides for a purchase price of $15,000,000 with $1,000,000 paid in earnest money “at
                   18       Escrow” with the balance paid in cash at the close of escrow (Robinson Declaration).
                   19               37.     The Back-up Contract (but not the Purchase Agreement with Walton) may
                   20       be subject to higher and better offers to the extent any are received (Robinson Declaration)
                   21               Good Faith; Business Judgment; Miscellaneous
                   22               38.     The Debtor has not actively marketed its real and personal property for sale.
                   23       However, the Debtor’s management has talked to several groups, twelve or more over the
                   24       years, who expressed an interest in buying the Debtor’s assets or made unsolicited offers.
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                             Technically, this Court’s approval of the Liquor License is not required given that the Debtor is the 100%
                   28       owner of F&B (a non-debtor), which owns the Liquor License.
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                        1   Indeed, the Debtor has been in discussions with Walton for several months regarding a
                        2   potential purchase of the Debtor’s assets (Robinson Declaration).
                        3          39.    The Debtor, in its management’s business judgment, believes that the relief
                        4   requested herein is in the best interest of the Debtor, its estate, and its creditors. The
                        5   business reasons include, but are not limited to, the facts that Purchase Agreement
                        6   constitutes the highest and best offer for the Resort Property, and that the Back-up Contract
                        7   is the second highest and best offer. Furthermore, the Debtor’s continued ownership of its
                        8   assets and corresponding costs will continue to deplete the Debtor’s resources. The
                        9   Purchase Agreement with Walton or the Back-up Contract (if the Option is not exercised
                   10       by Walton) present the best opportunity for the Debtor to realize the value of its assets
                   11       (Robinson Declaration).
                   12              40.    The Purchase Agreement, the Back-up Contract and the transactions
                   13       contemplated thereby have been negotiated by the Debtor on the one hand, and Walton or
                   14       the Back-up Buyer on the other (as applicable), and their respective representatives, in
                   15       good faith, at arm’s length and without collusion or fraud. The terms and conditions of the
                   16       Purchase Agreement and the Back-up Contract, including the total consideration to be
                   17       realized by the Debtor, are fair and reasonable, and the transactions contemplated under
                   18       them and by this Sale Motion are in the best interest of the Debtor, its creditors and its
                   19       estate (Robinson Declaration).
                   20              41.    For the same reasons set forth above the offers by Walton and the Back-up
                   21       Buyer for the Liquor License and sale thereof is an appropriate exercise of the Debtor’s,
                   22       on behalf of F&B, business judgment.
                   23              42.    The Debtor has full corporate power and authority to execute the Purchase
                   24       Agreement and the Back-up Contract, and all other documents contemplated thereby, and
                   25       the Debtor’s sale of its assets contemplated herein has been or will be duly and validly
                   26       authorized by all necessary corporate action. The Debtor has all of the corporate power and
                   27       authority necessary to consummate the transactions contemplated herein, the Debtor has
                   28       taken or will take, upon Court approval of this Sale Motion, all corporate action necessary
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                        1   to authorize and approve the transactions in accordance with the Purchase Agreement and
                        2   Back-up Contract (as applicable), the consummation of the transactions contemplated
                        3   thereby, and no consents or approvals, other than those expressly provided for in the
                        4   Purchase Agreement and Back-up Contract (as applicable), are required for the Debtor to
                        5   consummate such transactions (Robinson Declaration).
                        6          43.    The total consideration provided by Walton (as applicable) for the assets is
                        7   the highest or otherwise best offer received by the Debtor, and the Back-up Contract is the
                        8   second highest. No higher or better offer for the Debtor’s assets was received other than
                        9   the highest and best offer received by Walton in accordance with the Option Order and the
                   10       Purchase Agreement, and the second highest and second best offer from the Back-up Buyer
                   11       under the Back-up Contract. The consideration contemplated to be received by the Debtor
                   12       (a) is fair and reasonable, (b) is the highest or otherwise best offer for the assets, and (c)
                   13       constitutes reasonably equivalent value and fair consideration for purposes of the Uniform
                   14       Fraudulent Transfer Act as adopted by the State of Arizona, and, as applicable, the Uniform
                   15       Voidable Transactions Act (formally the Uniform Fraudulent Transfer Act), Uniform
                   16       Fraudulent Conveyance Act, Section 548 of the Bankruptcy Code, and under the laws of
                   17       the United States, any state, territory, possession or the District of Columbia. No other
                   18       person or entity or group of entities has offered to purchase the Debtor’s assets for greater
                   19       economic value to the Debtor’s estate than Walton and the Back-up Buyer. Approval of
                   20       the Sale Motion, the Purchase Agreement (or Back-up Contract, if applicable), and the
                   21       consummation of the transactions contemplated thereby is in the best interests of the
                   22       Debtor, its estate, its creditors and other parties in interest (Robinson Declaration)
                   23              44.    Time is of the essence in consummating the transactions contemplated in this
                   24       Sale Motion. In order to maximize the value of the Debtor’s assets, it is essential that the
                   25       sale of those assets occur within the time constraints set forth in the Purchase Agreement
                   26       with Walton (closing within 30 days of the Effective Date, which may be June 30, 2022).
                   27       Specifically, the transactions must be approved and consummated promptly in order to
                   28       maximize the value to the Debtor, its estate, its creditors and all other parties in interest.
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                        1   Accordingly, there is cause to waive the stay contemplated by Bankruptcy Rule 6004
                        2   (Robinson Declaration).
                        3      III.        RELIEF REQUESTED
                        4         45.         The Debtor respectfully requests the Court enter the Sale Order in
                        5   substantially the form as attached hereto as Exhibit A (a) approving the Purchase
                        6   Agreement to Walton (b) authorizing the exclusive sale of the Resort Property under the
                        7   Purchase Agreement free and clear of all liens, claims, and interests if Walton exercises
                        8   the Option; (c) authorizing the exclusive sale of the Liquor License to Walton free and
                        9   clear of all liens, claims, and interests if Walton exercises the Option and an agreement is
                   10       reached to sell it; (d) if applicable, approving the sale to the Back-up Buyer under the Back-
                   11       up Contract if Walton does not exercise the Option, subject to higher and better offers, and
                   12       (e) granting other related relief.
                   13          IV.            LEGAL ANALYSIS
                   14                46.      Section 363(b)(1), provides in relevant part that “[t]he trustee, after notice
                   15       and a hearing, may use, sell, or lease, other than in the ordinary course of business, property
                   16       of the estate . . . .” 11 U.S.C. § 363(b)(1). Section 363(f) of the Bankruptcy Code permits
                   17       a debtor to sell assets free and clear of liens, claims, and encumbrances with any such
                   18       encumbrances attaching to the net proceeds of the sale. Section 363(f) provides that a
                   19       debtor “may sell property . . . free and clear of any interest in such property of an entity
                   20       other than the estate, only if:”
                   21                      (a) applicable non-bankruptcy law permits sale of such property
                                           free and clear of such interest;
                   22

                   23
                                           (b) such entity consents;

                   24                      (c) such interest is a lien and the price at which such property is
                                           to be sold is greater than the aggregate value of all liens on such
                   25                      property;
                   26                      (d) such interest is in bona fide dispute;
                   27
                                           (e) such entity could be compelled, in a legal or equitable
                   28                      proceeding, to accept a money satisfaction of such interest.
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                        1   11 U.S.C. § 363(t).
                        2
                                   47.    The Debtor is unaware of any liens on the property other than those described
                        3
                            above. The claims secured by such liens shall be paid in full as contemplated by this Sale
                        4
                            Motion without further order of the Court. In addition, the Debtor and Walton have
                        5
                            consulted with the Smoke Tree regarding the relief requested in this Motion. It is the
                        6
                            Debtor’s understanding that Smoke Tree approves of the relief requested herein.
                        7
                            Accordingly, the Debtor requests that the Court approve the sale of the Resort Property and
                        8
                            the Liquor License to Walton (or, if applicable, the Back-up Buyer) free and clear of all
                        9
                            liens, claims, interests, and encumbrances (Robinson Declaration).
                   10
                                   48.    Section 363(b) generally permits a debtor to sell property of the estate outside
                   11
                            of the ordinary course of its business where the proposed sale is a sound exercise of the
                   12
                            debtor’s business judgment and if the sale is proposed in good faith In re Lionel Corp., 722
                   13
                            F.2d 1063, 1070 (2nd Cir. 1983); In re 240 North Brand Partners, Ltd., 200 B.R. 653, 659
                   14
                            (B.A.P 9th Cir. 1996).
                   15
                                   49.    Although Bankruptcy Code § 363 does not set forth a standard for
                   16
                            determining when it is appropriate for a Court to authorize the sale or disposition of a
                   17
                            debtor’s assets, Courts have uniformly held that approval of a proposed sale of property
                   18
                            under Bankruptcy Code § 363(b) is appropriate if the transaction is supported by the
                   19
                            reasonable business judgment of the Debtor. See Committee of Equity Security Holders v.
                   20
                            Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063 (2d Cir. 1983); see also In re Delaware
                   21
                            & Hudson Ry. Co., 124 B.R. 169, 176 (D. Del. 1991) (holding that a court must be satisfied
                   22
                            that there is a “sound business reason” justifying the pre-confirmation sale of assets); In re
                   23
                            Abbotts Dairies Pennsylvania, Inc., 788 F.2d 143 (3d Cir. 1986); Stephens Indus. v.
                   24
                            McClung, 789 F.2d 386, 389-90 (6th Cir. 1986).
                   25
                                   50.    In the Debtor’s business judgment, the purchase price offered by Walton
                   26
                            under the Purchase Agreement and by the Back-up Buyer under the Back-up Contract (if
                   27
                            applicable) is fair and provides reasonably equivalent value to the Debtor’s estate. The
                   28
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                        1   consideration for the Liquor License is fair and will provide reasonably equivalent value
                        2   to F&B, and ultimately, to the Debtor’s estate. Moreover, the Debtor has determined that
                        3   the relief requested in this Sale Motion is in the best interests of the Debtor’s creditors and
                        4   estate (Robinson Declaration).
                        5          51.    As described above, the relief requested in this Sale Motion will satisfy
                        6   secured creditors in full. Moreover, with the exception of the 7101 Holdings Claim, all
                        7   creditors of the estate will be satisfied in full through the relief requested in this Sale
                        8   Motion, including the holders of General Unsecured Claims and Administrative Claims
                        9   (Robinson Declaration).
                   10              52.    7101 Holdings has approved the relief requested in this Sale Motion on
                   11       behalf of itself as the holder of the 7101 Holdings Claim, and as the owner of the Debtor
                   12       (Robinson Declaration).
                   13              53.    Interested parties will receive adequate notice of this Sale Motion. The
                   14       proposed notice of this Sale Motion is reasonably calculated to provide timely and adequate
                   15       notice to the Debtor’s creditor constituency, those persons most interested in these cases.
                   16       Moreover, as required under Local Rule 6004-1(c), the notice for this Sale Motion and the
                   17       Sale Motion will be served on those specified in Bankruptcy Rule 6004, potential buyers
                   18       and/or their brokers, the title company where escrow has been opened, and any parties
                   19       asserting liens, claims or interests in the property and their counsel. Immediately after
                   20       service and before hearing, the Debtor will file a certificate of service.
                   21       IV CONCLUSION
                   22              Based on the foregoing, the Debtor respectfully requests that the Court enter the
                   23       Sale Order granting the relief requested in this Sale Motion.
                   24        Respectfully submitted this 10th day of THOMAS E. LITTLER, ESQ.
                             May, 2022.                              By: : /s/ Thomas E Littler
                   25
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                                                                          Tempe, Arizona 85284
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                   28
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                        1
                                                          CERTIFICATE OF SERVICE
                        2

                        3           This is to certify that the foregoing document was E-filed in the U.S. Bankruptcy
                            Court on behalf of Debtor on May 10, 2022 and copies served via ECF Notice the same
                        4   day upon the persons registered with PACER to receive electronic notice and by United
                            States Mail, First Class and/or by direct e-mail to the persons at the email addresses listed
                        5
                            below, if any. I did not receive prior to this filing any electronic message or other indication
                        6   that the transmission was unsuccessful.
                        7   I declare under penalty of perjury that the foregoing is true and correct.
                        8
                            : /s/ Thomas E Littler
                        9   Attorney for Debtor in Possession

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